     Case 1:17-cv-01136-PLM-PJG ECF No. 11 filed 04/17/18 PageID.64 Page 1 of 7



                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

VERNON OARD,
                                                 Case No. 1:17-cv-1136
                Plaintiff,
v.                                               HONORABLE PAUL L. MALONEY

COUNTY OF MUSKEGON, et al.,

            Defendant.
_______________________________/

                                   CASE MANAGEMENT ORDER

         IT IS HEREBY ORDERED:

 Trial Date and Time                                                      AUGUST 19, 2019
                                                                                8:45 a.m.

 Before:    Judge Paul L. Maloney                                      174 Federal Building
                                                                     410 W. Michigan Ave.
                                                                      Kalamazoo, Michigan
 Jury or Non Jury                                                                      Jury
 Estimated Length of Trial                                                           5 days
 Motions to Join Parties or Amend Pleadings                                   MAY 1, 2018
 Rule 26(a)(1) Disclosures                                                    MAY 15, 2018
 Disclose Name, Address, Area of Expertise and    Plaintiff:             NOVEMBER 1, 2018
 a short summary of expected testimony           Defendant:              DECEMBER 3, 2018
 of Expert Witnesses (Rule 26(a)(2)(A)
 Disclosure of Expert Reports                     Plaintiff:             NOVEMBER 1, 2018
 (Rule 26(a)(2)(B))                              Defendant:              DECEMBER 3, 2018
 Completion of Discovery                                             DECEMBER 31, 2018
 Dispositive Motions                                                     FEBRUARY 1, 2019
 Interrogatories will be limited to:                                25 single part questions
 (Single Part Questions)
 Depositions will be limited to:                                                10 per party
 (Fact Witnesses Per Party)
     Case 1:17-cv-01136-PLM-PJG ECF No. 11 filed 04/17/18 PageID.65 Page 2 of 7




 Requests for Admission will be limited to:                                                        25 per side
 (Per Side)
 Settlement Conference                                             Date:                   JULY 11, 2019
                                                                   Time:                          9:00 a.m.
                                                                  Before              Hon. Phillip J. Green
                                                                            110 Michigan St., NW, Ste. 740
                                                                                  Grand Rapids, MI 49503
 Final Pretrial Conference                                         Date:                      JULY 29, 2019
 Before Judge Paul L. Maloney                                      Time:                         10:00 a.m.
 Early Settlement Conference                                      Date:            SEPTEMBER 18, 2018
                                                                  Time:                           9:00 a.m.
                                                                 Before:              Hon. Phillip J. Green
                                                                            110 Michigan St., NW, Ste. 740
                                                                                  Grand Rapids, MI 49503

1.       TRIAL DATE AND SETTING: This case is scheduled for trial before the Honorable Paul L.
         Maloney, 174 Federal Building, 410 W. Michigan Ave., Kalamazoo, Michigan, as set forth above.

2.       JOINDER OF PARTIES AND AMENDMENTS OF PLEADINGS: All motions for joinder of parties
         and all motions to amend the pleadings must be filed by the date set forth in the table above.
3.       DISCLOSURES AND EXCHANGES: Deadlines for exchange of Rule 26(a)(1) disclosures, names
         of lay witnesses, identification of experts, voluntary exchange of documents, and disclosure of expert
         reports under Rule 26(a)(2), if applicable, are ordered as set forth in the table above.

4.       DISCOVERY: All discovery proceedings shall be completed no later than the date set forth in the
         table above, and shall not continue beyond this date. All interrogatories, requests for admissions, and
         other written discovery requests must be served no later than thirty days before the close of
         discovery. All depositions must be completed before the close of discovery. Interrogatories will be
         limited as set forth in the table above. Depositions will be limited as set forth in the table above.
         There shall be no deviations from this order without prior approval of the court upon good cause
         shown. Time limitations for depositions set forth in Rule 30(d)(1) apply to this case.

5.       MOTIONS:

         a.      Non-dispositive motions shall be filed in accordance with W.D. Mich. LcivR. 7.3. They will
                 be referred to a Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(A). In accordance with
                 28 U.S.C. § 471, et seq., it is the policy of this Court to prohibit the consideration of
                 discovery motions unless accompanied by a certification that the moving party has made a
                 reasonable and good faith effort to reach agreement with opposing counsel on the matters
                 set forth in the motion.

         b.      Dispositive motions shall be filed in accordance with W.D. Mich. LcivR 7.2 by the date set
                 forth in the table above. If dispositive motions are based on supporting documents such as
                 depositions or answers to interrogatories, only those excerpts which are relevant to the
                 motion shall be filed. The case manager will notify counsel of the date for oral argument.
                 Pursuant to Administrative Order 07-026, one courtesy copy of all dispositive motion

                                                      -2-
     Case 1:17-cv-01136-PLM-PJG ECF No. 11 filed 04/17/18 PageID.66 Page 3 of 7



                 papers (including responses and replies) and all accompanying exhibits must be
                 submitted directly to the judge’s chambers on paper. The copy must be hand-delivered
                 or sent via first class mail the same day the document is e-filed.

         c.      The parties are strongly encouraged to file motions in limine at least fourteen (14) calendar
                 days prior to the final pretrial conference, but in no event shall they be filed later than the
                 date for the submission of the proposed Final Pretrial Order.

6.       ALTERNATIVE DISPUTE RESOLUTION: In the interest of facilitating prompt resolution of this
         case, the parties shall participate in an early settlement conferences with a Magistrate Judge. The
         dates for the conference is set forth in the table above. The parties shall review and comply with
         settlement conference instructions set forth below for all settlement conferences..

7.       SETTLEMENT CONFERENCE: The parties are under an ongoing obligation to engage in good faith
         settlement negotiations. A settlement conference has been scheduled before the magistrate judge as
         set forth above.

         a.      Persons Required to Attend. Unless excused by a showing of good cause, the attorney who
                 is to conduct the trial shall attend the settlement conference, accompanied by a representative
                 of the party with full settlement authority. Both shall attend in person. The person with
                 settlement authority must come cloaked with authority to accept, without further contact with
                 another person, the settlement demand of the opposing party. An insured party shall also
                 appear by a representative of the insurer who is authorized to negotiate and to settle the
                 matter (within policy limits) up to the amount of the opposing parties’ existing settlement
                 demand. W.D.Mich. LcivR 16.8.

         b.      Settlement Letter to Opposing Party. A settlement conference is more likely to be productive
                 if, before the conference, the parties have had a written exchange of their settlement
                 proposals. Accordingly, at least fourteen (14) days prior to the settlement conference,
                 plaintiff’s counsel shall submit a written itemization of damages and settlement demand to
                 defendant’s counsel with a brief explanation of why such a settlement is appropriate. No
                 later than seven (7) days prior to the settlement conference, defendant’s counsel shall submit
                 a written offer to plaintiff’s counsel with a brief explanation of why such a settlement is
                 appropriate. This may lead directly to a settlement. If settlement is not achieved, plaintiff’s
                 counsel shall deliver, fax or e-mail copies of these letters to the chambers of the magistrate
                 judge conducting the conference no later than three (3) business days before the conference.
                  Do not file copies of these letters in the Clerk’s Office.

         c.      Confidential Settlement Letter to Court. In addition, three (3) business days before the
                 conference, each party or their attorney shall submit to the magistrate judge conducting the
                 conference a confidential letter concerning settlement. A copy of this letter need not be
                 provided to any other party. Do not file a copy of this letter in the Clerk's Office. All
                 information in the settlement letter shall remain confidential and will not be disclosed to any
                 other party without the approval of the writer. The confidential settlement letter shall set
                 forth: (a) the name and title of the party representative who will be present at the settlement
                 conference, with counsel's certification that the representative will have full authority to
                 settle, without the need to consult with any other party; (b) a very brief explanation of the
                 nature of the case, including an identification of any parties added or dismissed since the


                                                      -3-
     Case 1:17-cv-01136-PLM-PJG ECF No. 11 filed 04/17/18 PageID.67 Page 4 of 7



                 time of filing; (c) a history of settlement negotiations to date, including all offers, demands
                 and responses (the letter should not, however, divulge any offer made in the context of a
                 voluntary facilitative mediation); (d) the policy limits of any relevant insurance coverage;
                 (e) the limits on settlement authority given to counsel by the client; (f) that party's
                 suggestions concerning the most productive approach to settlement; (g) any other matter that
                 counsel believes will improve the chances for settlement. Plaintiff shall also provide an
                 estimated range of damages recoverable at trial and a brief analysis of the method(s) used
                 for arriving at the estimate(s).



8.       FINAL PRETRIAL CONFERENCE: A final pretrial conference is scheduled at the date and time
         set forth above.

9.       PREPARATION OF PROPOSED FINAL PRETRIAL ORDER: A proposed pretrial order, entitled
         “Final Pretrial Order” shall be prepared jointly by counsel and filed seven (7) business days prior
         to the final pretrial conference in the following form:

                 A final pretrial conference was held on the ___ day of ______________. Appearing for the
                 parties as counsel were:

                         (List the counsel who will attend the pretrial conference.)

                 1.      Exhibits: The following exhibits will be offered by the plaintiff and the defendant:

                         (List separately for each party all exhibits, including demonstrative evidence and
                         summaries of other evidence, by name and number. Plaintiff shall use numbers;
                         defendant shall use letters. Indicate with respect to each exhibit whether and for
                         what reason its admissibility is challenged. Exhibits expected to be used solely for
                         impeachment purposes need not be numbered or listed until identified at trial.
                         Failure to list an exhibit required to be listed by this order will result, except upon
                         a showing of good cause, in a determination of non-admissibility at trial. Objections
                         not contained in the Pretrial Order, other than objections under Evidence Rule 402
                         or 403, shall be deemed waived except for good cause shown. See Fed. R. Civ. P.
                         26(a)(3)(B).)

                 2.      Uncontroverted Facts: The parties have agreed that the following may be accepted
                         as established facts:

                         (State in detail all uncontroverted facts.)

                 3.      Controverted Facts and Unresolved Issues: The factual issues remaining to be
                         determined and issues of law for the Court’s determination are:

                         (Set out each issue which is genuinely controverted, including issues on the merits
                         and other matters which should be drawn to the Court’s attention.)

                 4.      Witnesses:


                                                      -4-
Case 1:17-cv-01136-PLM-PJG ECF No. 11 filed 04/17/18 PageID.68 Page 5 of 7



                A.      Non-expert witnesses to be called by the plaintiff and defendant, except
                        those who may be called for impeachment purposes only, are:

                        (List names, addresses, and telephone numbers of all non-experts who will
                        testify. Indicate whether they are expected to testify in person, by
                        deposition videotape, or by reading of their deposition transcript. Indicate
                        all objections to the anticipated testimony of each non-expert witness. For
                        each witness listed, indicate whether the witness will be called or merely
                        may be called to testify.)

                B.      Expert witnesses to be called by the plaintiff and defendant, except those
                        who may be called for impeachment purposes only, are:

                        (List names, addresses, and telephone numbers of all experts who will
                        testify, providing a brief summary of their qualifications and a statement of
                        the scientific or medical field(s) in which they are offered as experts.
                        Indicate whether they will testify in person, by deposition videotape, or by
                        reading of their deposition transcript. Indicate all objections to the
                        qualifications or anticipated testimony of each expert witness.)

                        It is understood that, except upon a showing of good cause, no witness
                        whose name and address does not appear in the lists required by subsections
                        (a) and (b) will be permitted to testify for any purpose, except impeachment,
                        if the opposing party objects. Any objection to the use of a deposition
                        under Fed. R. Civ. P. 32(a) not reflected in the Pretrial Order shall be
                        deemed waived, except for good cause shown.

          5.    Depositions and Other Discovery Documents:

                All depositions, answers to written interrogatories, and requests for admissions, or
                portions thereof, that are expected to be offered in evidence by the plaintiff and the
                defendant are:

                (Designate portions of depositions by page and line number. Designate answers to
                interrogatories and requests for admissions by answer or request number.
                Designation need not be made of portions that may be used, if at all, as impeachment
                of an adverse party. Indicate any objections to proposed deposition testimony,
                answers to interrogatories, and admissions.)

          6.    Length of Trial: Counsel estimate the trial will last approximately _____ full days,
                allocated as follows: _____ days for plaintiff’s case; _____ days for defendant’s
                case; _____ days for other parties.

          7.    Prospects of Settlement: The status of settlement negotiations is:

                (Indicate progress toward settlement and issues that are obstacles to settlement.)




                                            -5-
  Case 1:17-cv-01136-PLM-PJG ECF No. 11 filed 04/17/18 PageID.69 Page 6 of 7



         The proposed Final Pretrial Order will be signed by all counsel, signifying acceptance, and upon
approval by the Court, with such additions as are necessary, will be signed by the Court as an order reflecting
the final pretrial conference.

10.     MATTERS TO BE CONSIDERED AT THE FINAL PRETRIAL CONFERENCE: At the final
        pretrial conference, the parties and the Court will formulate a plan for trial, including a program for
        facilitating the admission of evidence, consider the prospects of settlement, and consider such other
        matters as may aid in the trial or other disposition of the action. Unless excused upon a showing of
        good cause, the attorney who is to conduct the trial shall attend the pretrial conference and shall be
        accompanied by a representative of the party with full settlement authority.

11.     PREPARATION FOR TRIAL:

        a.       Each party shall file the following not later than two (2) business days following the final
                 pretrial conference:

                 i.      Proposed voir dire questions. The Court will ask basic voir dire questions. Counsel
                         for the parties will be permitted to question prospective jurors. Questioning by
                         counsel shall not be repetitive of questions asked by the Court or of questions asked
                         in the juror questionnaire.

                 ii.     Trial briefs.

        b.       The parties shall jointly file the following not later than two (2) business days following the
                 final pretrial conference:

                 i.      Proposed jury instructions. This Court uses Western District of Michigan's
                         Standardized Jury Instructions for the preliminary and final instructions. A copy of
                         these instructions is available on the Court's website (www.miwd.uscourts.gov).1
                         The court generally uses O'Malley, Grenig & Lee's Federal Jury Practice and
                         Instructions for those not covered in the standard set. All instructions, including
                         those to which there is an objection, shall be filed as one document. Each
                         instruction shall be submitted in full text, one instruction per page, and in the order
                         to be read to the jury. Indicate those instructions with outstanding objections. No
                         instruction submitted shall contain highlighting or blanks. If the language of a
                         standardized instruction is modified, or an additional (non-standard) instruction
                         submitted, the source of the additional language or instruction must be indicated.
                         Objections to opposing counsel's proposed instructions, will be specified with a
                         summary of the reasons for each objection including a citation to relevant legal
                         authority.



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         The instructions can be located through the Attorney Information link or through the
Electronic Filing section. If accessing through the Electronic Filing section, you will need to use
your E-Filing Login and Password. Once you have logged into the electronic filing section of
the website, click Utilities, then select WDMI Attorney References and you will see the link to
the Standard Civil Jury Instructions.

                                                      -6-
  Case 1:17-cv-01136-PLM-PJG ECF No. 11 filed 04/17/18 PageID.70 Page 7 of 7



         The parties are required to submit a copy of the joint statement of case and statement of the elements,
joint proposed jury instructions, and joint proposed verdict form(s) in WordPerfect or Word format to Judge
Maloney's Judicial Assistant, Christina Cavazos at Christina_Cavazos@miwd.uscourts.gov and Case
Manager, Amy Redmond at Amy_Redmond@miwd.uscourts.gov.

                 Ii.     A joint statement of the case and statement of the elements that must be proven by
                         each party. If the parties are unable to agree on the language of a joint statement of
                         the case, then separate, concise, non-argumentative statements shall be filed. The
                         statement(s) of the case will be read to the prospective jurors during jury selection.
                         The elements that must be proven by each party will be included in the preliminary
                         jury instructions.




Dated: April 17, 2018                              /s/ Paul L. Maloney
                                                   Paul L. Maloney
                                                   United States District Judge




                                                      -7-
